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                                         Index No: 22 -cv-   (   )(   )



 United States District Court
      SOUTHERN DISTRICT OF NEW YORK

DOUGLAS SCHOTTENSTEIN, MD AND SCHOTTENSTEIN
PAIN AND NEURO, PLLC D/B/A NY SPINE
                                                                 Plaintiff
                                 –v–


UNITED STATES FOOD AND DRUG ADMINISTRATION, ROBERT
M. CALIFF, M.D., ACTINGCOMMISSIONER OF THE UNITED STATES
FOOD AND DRUG ADMINISTRATIONIN HIS OFFICIAL CAPACITY ONLY
                                                   Nominal Defendants

EDWARD L. CAPLA; JUDITH J. CAPLA, MD; TOMAS CAPLA,
DDS; YOLANDA CAPLA; BRADLEY WASSERMAN, MD;
ORTHOGEN INTERNATIONAL GMBH; PROF. DR. PETER
WEHLING; NINA BREIDENBACH; PETER NIEDERAU; AND
“JOHN DOE, JANE DOE & ABC CORP. 1-10”
                                                             Defendants,



             VERIFIED COMPLAINT
                    RICHARD BRUCE ROSENTHAL, ESQ.
                       JEFFREY A. DONNER, ESQ.
                         CORY H. MORRIS, ESQ.

                   Attorneys for Douglas Schottenstein
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                      VERIFIED COMPLAINT

1.   Plaintiffs Douglas Schottenstein, MD and Schottenstein Pain
     and Neuro, PLLC doing business as NY Spine, maintaining
     their principal office at 18 E. 48th Street, Suite 901, New York,
     NY 10017 (collectively "Plaintiffs" or "Plaintiff") bring this
     action through their attorneys to address an unapproved
     withdrawal, treatment and reintroduction of blood back into
     similarly situated persons deprived of the benefit of either a
     licensed medical profession or person properly trained by
     Defendant Orthogen International GMBH, an entity that has
     gone through great lengths to avoid oversight by the United
     States Food And Drug Administration, named herein to
     address imminent harm if not death to similarly situated
     persons seeking such treatment, mostly Plaintiffs' former
     patients who were, among other things, professional athletes.
2.   Giving rise to federal questions under applicable laws and
     regulations as cited herein, Defendant Orthogen conspired
     with the Capla Defendants to evade the assertion of
     regulatory jurisdiction including investigation, testing and an
     approval process by the United States Food and Drug
     Administration over Regenokine, which engages in autologous
     procedures drawing blood from patients with inflammation
     from trauma or other causes, treating that blood with
     proprietary substances and processes and then reintroducing
     that blood, now a prepared drug, pharmaceutical or modality
     subject to regulation, through injection into the patient at the
     affected sites. The Defendants, individually and collectively,
     used interstate wire communications in furtherance of this
     scheme that was done to avoid the foregoing federal scrutiny
     and oversight.
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3.   Defendants, individually and collectively, devised a scheme to
     defraud the Plaintiff and others and used mail and wire to
     transfer and secret monies, some of which were unlawfully
     obtained.
4.   Defendants, individually and collectively, engaged in various
     acts of fraud, knowing and willfully participated in a scheme
     with intent to defraud the Plaintiffs and others similarly
     situated in the use of a drug added to blood and reintroduced
     into the body.
5.   In so doing, Capla Defendants, discussed further herein took
     monies that should have gone to Plaintiffs and distributed the
     money to other persons, persons that did not perform any
     medical service, and secreted profits from various government
     entities for, inter alia, unlicensed medical drug/treatments.
6.   This relationship with Capla Defendants and Wasserman was
     both confidential and fiduciary, and proved to be highly
     beneficial and remunerative averaging about twelve-million
     (12) dollars a year from this single practice and roughly the
     same amount of money from the doctors who were similarly
     engaged and is thus Orthogen operates a multimillion dollar
     enterprise in the greater United States.
7.   The Defendants, individually and collectively, all contributed
     to an enterprise using mail and wire to secret monies,
     administer an unlicensed medicine/drug that relies on the
     reintroduction of blood back into the patient's body, create
     unlawful profits and transfer monies to Orthogen while
     avoiding any meaningful regulation or United States Food
     and Drug Administration oversight.
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                    PRELIMINARY STATEMENT

8.   This is an action for declaratory relief against defendants
     United States Food and Drug Administration (“FDA”) and
     against defendants Orthogen International GmbH
     (“Orthogen”) to determine (1) whether Regenokine® is a drug,
     pharmaceutical or other modality subject to its administrative
     oversight and regulation through its Center for Biologics
     Evaluation and Research (“CBER”); (2) that in the interest
     and protection of public health and safety, the use of
     Regenokine® on patients in the United States must be stayed
     pending the decision of FDA as to whether or not
     investigation and testing of Regenokine® and the imposition
     of the process to thoroughly review Regenokine® to determine
     whether it is rejected as a drug, pharmaceutical or modality
     for the treatment of patients or approved with or without
     specific conditions or limitations; and (3) that the use of
     Regenokine® on any patient constitutes the practice of
     medicine under New York law, which practice must be
     licensed, thereby rendering a Regenokine® License to an
     individual not licensed to practice medicine nugatory and
     meaningless, void ab initio, and without force or effect.
9.   This is also an action against defendant Orthogen, Professor
     Dr. Peter Wehling (“P. Wehling”), Nina Breidenbach
     (“Breidenbach”) and Peter Niederau (“Niederau”), hereinafter,
     collectively the “Orthogen defendants,” seeking injunctive
     relief, compensatory and exemplary damages, and a
     constructive trust arising out of the claims asserted herein for
     tortious interference with the economic relationship and
     advantage of plaintiffs with defendant Edward L. Capla
     (“Capla”) as well as for fraud and deceit, and conspiracy to
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      defraud and exclude plaintiffs from a medical practice in
      which they owned at least 50%.
10.   Furthermore, this is also an action against defendants
      Edward L. Capla (“Capla”), Judith J. Capla, MD (“J. Capla”),
      Tomas Capla, DDS (“T. Capla”), Yolanda Capla (“Y. Capla”)
      and Bradley Wasserman, MD (“Wasserman”), hereinafter,
      collectively referred to as the “Capla defendants,” seeking
      compensatory and exemplary damages and a constructive
      trust arising out of the claims asserted herein for fraud and
      deceit, breach of fiduciary duty and duty of loyalty, breach of
      contract, breach of the implied covenant of good faith and fair
      dealing, conversion and unjust enrichment.

                      JURY TRIAL DEMANDED

11.   The Plaintiffs hereby demand a trial by jury on all issues so
      triable.

                            JURISDICTION

12.   This Court has subject matter jurisdiction of this action
      pursuant to 28 U.S.C. Section 1331 in that this is a civil
      action that raises federal questions that arise under the
      Constitution, laws or treaties of the United States. Moreover,
      the pendent claims are wholly intertwined with the federal
      questions asserted herein such that neither can be fully
      resolved without reference to the other.
13.   Venue is proper in the United States, in that Plaintiffs
      maintain their principal office herein, all Defendants do not
      reside in the same State and a substantial part of the events
      and omissions giving rise to the claims asserted herein
      occurred in this District and not at all in Germany.
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                                 VENUE

14.   The United States District Court for the Southern District of
      New York is the appropriate venue for this action.
15.   Venue is proper in this District under 28 U.S.C. § 1391
      becauseOrthogen International GMBH sought to introduce a
      drug/treatment into the United States through Plaintiffs'
      practice and conspired with the named defendants in this
      action to, inter alia, administer the reintroduction of blood
      back into similarly situated persons deprived of United States
      Food And Drug Administration oversight and regulation.

            THE PARTIES AND STATEMENT OF CASE

16.   Plaintiff Douglas Schottenstein, MD is a medical doctor
      licensed to practice in both the States of New York and
      Florida, specializing in Neurology and Pain Management. He
      is Board Certified in both specialties placing him in a rare
      group of elite medical professionals that have achieved this
      double Board Certification.
17.   Due to Dr. Schottenstein’s high profile in the medical
      community and his frequent appearances in media to discuss
      professional issues, his professional activities garner
      attention.
18.   Dr. Schottenstein operates his medical practice through
      plaintiff Schottenstein Pain and Neuro, PLLC doing business
      as NY Spine, which maintains its principal office at Suite 901,
      18 East 48th Street, New York, NY 10017.
19.   Defendant United States Food and Drug Administration
      (“FDA”), through its Center for Biologics Evaluation and
      Research (“CBER”), regulates biological products for human
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      use under applicable federal laws, including the Public Health
      Service Act, 42 U.S.C. Section 201 et seq. and the Federal
      Food, Drug and Cosmetic Act, 21 U.S.C. Section 1 et seq. The
      FDA and CBER protect and advance public health by
      ensuring that biological products are safe, effective and
      appropriately used.
20.   As a vital part of the foregoing purposes, the FDA and CBER
      are responsible for regulatory oversight of the blood supply
      within the United States.
21.   FDA promulgates and enforces standards for blood collection
      and for the manufacturing of blood products, including both
      transfusible and reintoductable components of whole blood,
      pharmaceuticals derived from blood cells or plasma, and
      related medical devices.
22.   By characterizing Regenokine as a treatment program as
      opposed to a drug, Orthogen has deliberately avoided the FDA
      and CBER approval process, and in doing so have chosen
      monetary profit over the safety and welfare of the public, and,
      most specifically, the safety and welfare of the patients that
      undergo Regenokine in the belief that it is not a drug.
23.   This state of affairs coupled with Orthogen’s licensing of
      Regenokine to non-licensed practitioners posing as medical
      doctors poses a likely imminentand irreparable threat to the
      lives of American citizens exposed to this regime.
24.   Plaintiffs are Regenokine Licensees expected by Orthogen to
      administer Regenokine to patients with inflammation and/or
      traumatic injury to principal joints and critical sites in their
      bodies, and have also been targeted by the Orthogen
      Defendants and the Capla Defendants due to their concerns
      regarding the unregulated and likely dangerous aspects of the
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      Regenokine® Program that poses an imminent threatwith
      irreparable harm to the health, safety and welfare of the
      public throughout the United States and within this District.
25.   Orthogen International GmbH is a German corporation with
      offices located at Ernst-Schneider-Platz 1, 40212 Dusseldorf,
      Germany. Orthogen is the Licensor of an autologous
      treatment regimen known as the Regenokine® Program
      pursuant to which patients with specified injuries or
      conditions may be treated with the objective of reducing
      inflammation and promoting healing on an accelerated basis.
26.   In its capacity as Licensor, Orthogen has made and continues
      to make appearances in the United States, including New
      York, both through in person visits by its representatives and
      numerous written and electronic communications and
      telephone calls to persons in the United States, including Dr.
      Schottenstein, regarding the licensing and promotion of the
      Regenokine® Program.
27.   Commencing in or about 2012, Orthogen issued to plaintiff
      Dr. Schottenstein and defendant Capla a License with a two-
      year term to utilize the Regenokine® Program, which License
      was renewed in or about June, 2014. Thereafter, in or about
      July, 2014, the License was amended to be perennial
      requiring no further renewals, and having a term coextensive
      with the duration of the patents protecting the proprietary
      and confidential methods and knowledge on which the
      Regenokine® Program is based.
28.   As amended, the Orthogen License issued to plaintiff Dr.
      Schottenstein and defendant Capla could only be terminated
      “for cause” as defined in the License Agreement.
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29.   Thereafter, on plaintiffs’ information and belief, at some point,
      the Orthogen defendants commenced to conspire with the
      Capla defendants in order to continue to elude regulation and
      oversight by the FDA over Regenokine®. To do so, Orthogen
      utilized a high level of concealment under an impenetrable
      cloud of internal proprietary regulation, to which plaintiffs
      had expressed concerns.
30.   Through this conspiracy, Orthogen also sought to interfere
      with and deny plaintiffs the benefits of their economic
      relationship with the Capla defendants, and to act
      fraudulently and deceitfully to cover up said conspiracy and
      prevent plaintiffs from taking action to challenge and
      remediate same.
31.   Based upon Plaintiffs’ information and belief, on or about
      March 24, 2020, Orthogen in conspiracy with the Capla
      defendants and with specific intent to do so, wrongfully
      terminated the perennial License for the Regenokine®
      Program issued to plaintiff Dr. Schottenstein and defendant
      Capla, not on any “for cause” basis, but on the sole basis that
      the License was not being renewed. At all times pertinent to
      this illegal action and the underlying conspiracy by and
      between the Orthogen defendants and the Capla defendants,
      Orthogen and the other Orthogen defendants knew that they
      were tortiously interfering with plaintiffs’ economically
      advantageous relationship with the Capla defendants that
      would result in losses to plaintiffs in the tens of millions of
      dollars.
32.   Within days after the discontinuance of the Regenokine®
      Program License Agreement with Schottenstein and Capla,
      Orthogen in furtherance of the aforesaid conspiracy entered
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      into a new Regenokine® Program License Agreement with
      defendants Wasserman and Capla.
33.   After discontinuance of the Regenokine® Program License
      with Schottenstein, Orthogen directed persons in the United
      States to Wasserman and/or Capla for Regenokine®.
34.   On information and belief, Orthogen was motivated to take
      these steps in order to avoid the likelihood of regulation of
      Regenokine® by the FDA and CBER as a drug or other
      regulated modality or device as a result of Plaintiffs’ high
      profile arising from his extraordinary credentials, his
      reputation in medical circles and the media as an expert in
      the fields of neurology and pain management, his frequent
      consultations in broadcast and print media, and his expressed
      concerns over the absence of any effort by Orthogen to have
      Regenokine® officially reviewed.
35.   Defendant Professor Dr. Peter Wehling (“P. Wehling”),
      maintaining an address with defendant Orthogen, is the
      founder and developer of the Regenokine® Program, and a
      principal stockholder in Orthogen AG, Orthogen’s parent,
      with whom he has contracted in order to permit Orthogen to
      license and administer the Regenokine® Program. Wehling
      has had numerous contacts and communications with Dr.
      Schottenstein in the United States.
36.   On plaintiffs’ information and belief, in conspiracy with the
      other Orthogen defendants and the Capla
      defendants,Wehling actively and knowingly engaged in
      fraudulent and deceitful communications with Dr.
      Schottenstein with the specific intent to mislead Dr.
      Schottenstein, prevent him from learning of the foregoing
      conspiracy, and cause him to withhold action challenging the
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      License non-renewal and to remediate the damages willfully
      being caused.
37.   In this regard, Wehling deliberately, fraudulently and
      deceitfully misinformed Dr. Schottenstein that the non-
      renewal of the License was merely the result of a change in
      Orthogen’s internal policy to limit practice under
      theRegenokine® Program to German practitioners while
      Orthogen was engaging in discussions to sell all or a portion
      of the Regenokine® Program rights to third parties. Wehling
      also fraudulently and deceitfully misinformed Dr.
      Schottenstein that the License would be reissued to Capla
      and him promptly after the current negotiations were
      concluded.
38.   Defendant Nina Breidenbach, maintaining an address with
      defendant Orthogen, is a former Managing Director of
      Orthogen and presently supervises and implements licensee
      training, adherence to operational criteria, reporting
      requirements, royalty payments and other licensee services
      within the Regenokine® Program.
39.   At all relevant times, Breidenbach has physically travelled
      and continues to travel to New York City and other locations
      throughout the United States in relation to her
      responsibilities to the Regenokine® Program and to plaintiff
      Dr. Schottenstein as a Regenokine® Program Licensee .

      THE CONSPIRACY AND EVASION OF U.S. REGULATION

40.   On information and belief, Breidenbach actively conspired
      with the other Orthogen defendants and the Capla
      defendants with the express intent to interfere with plaintiffs’
      economically advantageous relationship with Capla, and
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      through fraudulent and deceitful actions and/or omissions to
      deprive plaintiffs of the revenues earned under that
      relationship.
41.   As part of the foregoing conspiracy, Breidenbach signed and
      sent to Dr. Schottenstein and Capla the March 24, 2020 non-
      renewal notice thereby discontinuing the Regenokine®
      Program License Agreement issued to them.
42.   On information and belief, Breidenbach joined in the
      conspiracy to disrupt the economically advantageous
      relationship that plaintiffs enjoyed with the Capla defendants,
      and thereafter participated in the fraudulent and deceitful
      conduct with the other Orthogen defendants to terminate that
      relationship and fulfill the objectives of the conspiracy by
      issuance of a new License to Wasserman and Capla.
43.   Defendant Peter Niederau, maintaining an address with
      defendant Orthogen, is the current Managing Director of
      Orthogen. In furtherance of the foregoing conspiracy with the
      other Orthogen defendants and the Capla defendants, on
      August 3, 2022, Niederau signed and delivered a letter to Dr.
      Schottenstein refusing to provide any know-how or services
      under the Regenokine® Program, stating “that there is no
      valid licensing agreement between you [Dr. Schottenstein]
      and ORTHOGEN,” and demanding that Dr. Schottenstein
      refrain from any offer of the Regenokine® Program to his
      patients and to immediately take other specifically designated
      actions to disassociate from the Program.
44.   In preparing and sending this letter to Dr. Schottenstein,
      Niederau both advanced the conspiracy in which he had
      joined, acted knowingly with fraud and deceit, and fully
      ratified the conspiracy between and among the Orthogen
      defendants and the Capla defendants.
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45.   Defendant Edward L. Capla, maintaining an office address at
      c/o Bradley Wasserman, MD, 125 East 63rd Street, New York,
      NY 10065, on information and belief, holds a medical degree
      but on information and belief is not licensed to practice
      medicine. Nevertheless, Capla wrongly and unethically
      utilizes the title of “Doctor,” thereby deliberately
      misinforming the public thereby causing members thereof to
      believe that he is a licensed medical professional when he is
      not.
46.   Because he does not hold a medical license and cannot legally
      perform the duties required to participate as a Regenokine®
      Programtreatment provider, Capla cannot be a direct licensee
      of the Regenokine® Program.
47.   In or about 2012, Capla was named as a subordinate Licensee
      under an agreement with Orthogen to participate in the
      Regenokine® Program, subject to the direction and
      supervision of plaintiff Dr. Schottenstein, the primary
      Licensee to which the License was granted. The initial
      License was for a 2-year term subject to renewal by Orthogen.
48.   This initial License could be terminated by non-renewal for no
      specific reason at the expiration of the term or “for cause,” at
      any time based upon the reasons set forth in the License
      agreement, itself. .
49.   At the outset of the initial License term, Plaintiffs and Capla
      formed a mutually beneficial economic relationship through
      their agreement to operate under the License, pursuant to
      which plaintiff Dr. Schottenstein administered Regenokine®
      Program treatments to patients and Capla focused on
      reporting requirements and calculation of royalty payments.
      This agreement proved to be highly beneficial and
      remunerative, and the practice administering treatments to
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      patients under the Regenokine® Program grew exponentially
      to the point that the services of some of the other Capla
      defendants, that is Judith J. Capla, MD; Tomas Capla, DDS
      and Yolanda Capla, were utilized to handle laboratory work
      responsibilities.
50.   The initial License was renewed in or about June, 2014 for an
      additional 2-year term, but promptly thereafter, in or about
      July, 2014, the License was modified by written Side Letter
      Agreement with Orthogen to have a perennial term “until the
      last of the REGENOKINE TREATMENT PATENTS have
      expired or the KNOW-HOW is no longer protected, whichever
      is later, unless earlier terminated as provided in this Article
      10” [for cause].As a result of this modification, renewal of the
      License was no longer required, and the License could only be
      terminated for cause as delineated therein.
51.   During the next six years, the Regenokine® Program practice
      within the relationship between plaintiffs and Capla grew to
      in excess of 3,500 patients and yielded distributions to
      plaintiffs of $6 million per year and a like amount to Capla
      with distributions to J. Capla, T. Capla and Y. Capla for their
      services.
52.   On information and belief, at some point in this time frame,
      in violation of his fiduciary duty and agreementwith plaintiffs
      as partners, Capla and the other Capla defendants began to
      conspirewith the Orthogen defendants to exclude plaintiffs
      from the right to practice under the Regenokine® Program
      License.
53.   In doing so, the Capla Defendants acted with fraud and deceit
      deliberately shielding their activities from plaintiffs and
      making statements both verbally and in writing calculated to
      mislead plaintiffs thereby causing Dr. Schottenstein to believe
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      that all was in order within the partnership with Capla.
      Orthogen was complicit in and engaged in such fraud by
      participating in and not informing Schottenstein of these
      negotiations.

          ACTS IN FURTHERANCE OF THE CONSPIRACY;
           THE POISONING OF DR. SCHOTTENSTEIN

54.   In or about mid-January, 2020, plaintiff Dr. Schottenstein
      became extremely ill with a life threatening condition
      requiring hospitalization, intensive care and kidney dialysis
      administered on an emergent basis in order to remedy this
      condition. It appears that this condition arose as a result of
      Dr. Schottenstein ingesting antifreeze surreptitiously added
      to his food or drink. There was no reason, whatsoever, for
      antifreeze to be stored in the NY Spine office, but an open and
      partially used container of antifreeze was found in the NY
      Spine storage room when Dr. Schottenstein returned to the
      office.
55.   Prior to Dr. Schottenstein’s affliction with his sudden, severe
      and life threatening condition, defendant Capla and the other
      Capla Defendants had full and unfettered access to both the
      NY Spine offices and Dr. Schottenstein.
56.   During the time that Dr. Schottenstein was hospitalized,
      defendant Bradley Wasserman, MD, defendant Capla’s
      brother-in-law, was brought into the NY Spine office to
      administer Regenokine® Program treatments to Dr.
      Schottenstein’s patients without Dr. Schottenstein’s
      knowledge or consent.
57.   On information and belief defendants Judith J. Capla, MD is
      a licensed physician, who maintains an office at 530 1st
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      Avenue, New York, NY 10016 and purports to specialize in
      Allergy and Immunology as well as Pediatrics.
58.   Judith J. Capla, MD ("J. Capla") is defendant Capla’s mother.
      At relevant times to this action, defendant J. Capla was an
      independent contractor providing laboratory services to the
      plaintiffs and defendant Capla.
59.   On information and belief, defendant J. Capla conspired with
      the other Capla defendants to exclude plaintiffs from the
      right to practice under the Regenokine® Program License. In
      doing so, she acted in violation of her fiduciary duty and duty
      of loyalty to plaintiffs, and with fraud and deceit deliberately
      shielding her activities from plaintiffs and making statements
      calculated to mislead plaintiffs thereby causing Dr.
      Schottenstein to believe that all was in order within the
      agreement with defendant Capla.
60.   On information and belief, Tomas Capla, DDS ("T. Capla") is
      a licensed dentist, who maintains an office at 2500 Johnson
      Avenue, Riverdale, NY 10463. He is defendant Capla’s father.
61.   At relevant times to this action, defendant T. Capla was an
      independent contractor providing laboratory services to
      plaintiffs and defendant Capla. On information and belief,
      defendant T. Capla conspired with the other Capla
      defendants to exclude plaintiffs from the right to practice
      under the Regenokine® Program License.
62.   In doing so, T. Capla acted in violation of his fiduciary duty
      and duty of loyalty to plaintiffs, and with fraud and deceit
      deliberately shielding his activities from plaintiffs and
      making statements calculated to mislead plaintiffs thereby
      causing Dr. Schottenstein to believe that all was in order
      within the agreement with defendant Capla.
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63.   On information and belief, Yolanda Capla ("Y. Capla")
      maintains an office address at c/o Bradley Wasserman, MD,
      125 East 63rd Street, New York, NY 10065. She is defendant
      Capla’s wife.
64.   At relevant times to this action, defendant Y. Capla was an
      independent contractor providing laboratory services to
      plaintiffs and defendant Capla.
65.   On information and belief, defendant Y. Capla conspired with
      the other Capla defendants to exclude plaintiffs from the
      right to practice under the Regenokine® Program License.
66.   In doing so, Y. Capla acted in violation of her fiduciary duty
      and duty of loyalty to plaintiffs, and with fraud and deceit
      deliberately shielding her activities from plaintiffs and
      making statements calculated to mislead plaintiffs thereby
      causing Dr. Schottenstein to believe that all was in order
      within the agreement with defendant Capla.
67.   On information and belief. Bradley Wasserman, MD
      ("Wasserman") is a licensed physician, who maintains an
      office at 125 East 63rd Street, New York, NY 10065 and
      purports to specialize in orthpaedic surgery and sports
      medicine.
68.   Wasserman is defendant Capla’s brother-in-law. During the
      time that Dr. Schottenstein was hospitalized on an emergent
      basis, defendant Wasserman was brought into the NY Spine
      office by defendant Capla to administer Regenokine®
      Program treatments to Dr. Schottenstein’s patients without
      Dr. Schottenstein’s knowledge or consent.
69.   On information and belief, defendant Wasserman conspired
      with the other Capla defendants to exclude plaintiffs from the
      right to practice under the Regenokine® Program License.
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70.   In doing so, Wasserman acted in violation of his fiduciary
      duty and duty of loyalty to plaintiffs, and with fraud and
      deceit deliberately shielding his activities from plaintiffs and
      making statements calculated to mislead plaintiffs thereby
      causing Dr. Schottenstein to believe that all was in order
      within the agreement with defendant Capla.
71.   Defendants John Doe, Jane Doe and ABC Corp. 1-10 are
      fictional defendants intended to cover other wrongdoers in
      this matter, whose identities are presently unknown, but who
      may become known in the course of discovery hereunder, and
      whom plaintiffs reserve the right to implead as defendants in
      this action.

         FACTS RELEVANT TO THE PLAINTIFF'S CLAIMS

72.   In or about mid-2012 defendant Orthogen designated plaintiff
      Dr. Schottenstein and defendant Capla as Licensees under
      the Regenokine® Programfor a 2-year term.
73.   Since Capla was not licensed to practice medicine, he could
      not treat patients and was designated Licensee No. 2. In that
      capacity, Capla was subject to the supervision of Dr.
      Schottenstein, a licensed medical practitioner, designated as
      Licensee No. 1, who acted as the sole provider for patient
      treatment under the License and was responsible for same.
74.   In 2014, the License was renewed for a 2-year period, but that
      renewal was promptly followed by a Side Letter that granted
      Dr. Schottenstein and Capla a perennial License that did not
      require renewal, with a term coincident with the ultimate
      patent expiration for the Regenokine® Program, and could be
      terminated only upon a for cause basis.
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75.   As Licensee No. 1, Dr. Schottenstein was in charge of patient
      treatment. Since Capla was not authorized to treat patients,
      he oversaw the reporting and royalty payment calculations to
      Orthogen.
76.   The Regenokine® Program treatment practice conducted
      through plaintiff NY Spine at its offices in New York City and
      also in Miami, Florida rapidly grew to in excess of 3,500
      patients,yielding both Dr. Schottenstein and Capla
      approximately $6 million per year.
77.   As the Regenokine® Program treatment practice grew,
      defendants, and co-conspirators, J. Capla, T. Capla and Y.
      Capla were brought into this practice as independent
      contractors to prepare the laboratory work needed to conduct
      the Regenokine® Program treatments.
78.   Capla paid roughly two-thirds of his compensation to
      defendants J. Capla and T. Capla, his parents, in order to
      shield this income and thereby avoid explanation as to why he
      qualified for this level of compensation based upon the
      ministerial work that he was producing within the
      Regenokine® Program practice.
79.   On information and belief, defendants J. Capla and T. Capla
      deposited the portion of the compensation paid to them but
      allocated to defendant Capla into a joint account in which
      Capla was a signatory able to withdraw this compensation.
80.   The Regenokine® Program treatment practice continued in
      the foregoing manner until in or about early 2020.
81.   In early to mid-January, 2020, Dr. Schottenstein suddenly
      became ill with a life threatening condition that required
      immediate hospitalization, intensive care and kidney dialysis.
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82.   The doctors attending to Dr. Schottenstein in hospital stated
      that his condition was consistent with having ingested
      ethylene glycol, the active ingredient in antifreeze.
83.   Up until this time, Dr. Schottenstein had been in good health,
      and had never had an issue with his kidneys.
84.   Dr. Schottenstein has had no such problem since his recovery
      from this incident.
85.   There is absolutely no reason for antifreeze to be kept in
      storage in a medical office.
86.   Nevertheless, upon Dr. Schottenstein's recovery and return to
      the NY Spine office at the end of January, 2020, Dr.
      Schottenstein did discover an open, partially used container of
      antifreeze in the store room.
87.   Dr. Schottenstein did not purchase the antifreeze and was not
      previously aware of this substance being in the NY Spine
      office.
88.   When Dr. Schottenstein returned to the NY Spine office
      following his hospitalization, he also found that defendant
      Wasserman had been hired by Capla as an independent
      contractor, and was treating Dr. Schottenstein’s patients
      without his knowledge or consent.
89.   Prior to Dr. Schottenstein’s life threatening illness, the Capla
      defendants had free and unfettered access to the NY Spine
      office and to Dr. Schottenstein’s physical presence.
90.   Until just prior to Dr. Schottenstein’s illness, two NY Spine
      employees subsequently found to be faithless, and having
      stolen through unauthorized wire transfers and other means
      over $2.5 million from Dr. Schottenstein, also enjoyed this
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      unfettered access to the NY Spine office and Dr.
      Schottenstein’s physical presence.
91.   Dr. Schottenstein had terminated these two employees
      without knowledge of their theft in or about early January,
      2020.
92.   Dr. Schottenstein has filed a Complaint against these
      faithless employees in Federal Court in the Southern District
      of New York.
93.   Included in Dr. Schottenstein's filing on information and
      belief is that these faithless employees were involved in
      causing Dr. Schottenstein to ingest antifreeze in his food or
      drink at the office.
94.   In their voluntary disclosures in that matter in the Southern
      District of New York, these defendant faithless employees
      have listed defendant Capla as a person with knowledge
      potentially anticipated to testify at the time of trial. This link
      between these faithless employees and Capla raise the issue
      as to whether Capla played a role in some of the bad acts
      engaged in by these employees, including the deliberate
      poisoning of Dr. Schottenstein.
95.   On information and belief, there came a time when the Capla
      defendants conspired amongst themselves and with Orthogen
      and the Orthogen defendantsto exclude plaintiffs from the
      right to practice under the Regenokine® Program License.
96.   In doing so, both the Orthogen defendants and the Capla
      defendants acted with fraud and deceit deliberately shielding
      their activities from plaintiffs and making statements
      calculated to mislead plaintiffs thereby causing Dr.
      Schottenstein to believe that all was in order within the
      agreement with Capla.
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97.   In acting in this manner, the Orthogen defendants well knew
      that they were acting tortiously to interfere with the highly
      advantageous economic relationship by and between plaintiffs
      and Capla, and that their actions further constituted a breach
      of the fiduciary duties they owed to plaintiffs.
98.   The Capla defendants through this conspiracy with the
      Orthogen defendants breached the agreement by and between
      Dr. Schottenstein and Capla as well as the implied covenant
      of good faith and fair dealing and their respective duties of
      loyalty to plaintiffs.
99.   On or about March 24, 2020, defendant Orthogen acting
      through defendant Breidenbach, then Managing Director, and
      fully supported by defendant Wehling, issued a letter to Dr.
      Schottenstein and defendant Capla advising that the License
      under the Regenokine® Program was to be terminated by
      May 31st, 2020 on the basis of non-renewal in accordance with
      the June 1st, 2014 License Agreement.
100. The March 24, 2022 letter did not refer to any for cause basis
     for Dr. Schottenstein's termination.
101. On information and belief this March 24, 2020 letter was
     issued to achieve the purpose of the conspiracy between the
     Orthogen defendants and the Capla defendants.
102. Moreover, although not mentioned in the March 24, 2020
     letter, on information and belief, the arrangement to issue a
     newRegenokine® ProgramLicense to defendant Capla and
     defendant Wasserman to the exclusion of plaintiffs had
     already been agreed upon.
103. The March 24, 2020 letter constituted an illegal action by
     defendant Orthogen, issued in breach of the controlling Side
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     Letter Agreement dated July 9, 2014 but expressly related
     back to and effective as of June 1, 2014, and was void ab initio.
104. Shortly after the receipt of the March 24, 2020 letter
     defendants Capla and Y. Capla sent Dr. Schottenstein the
     following text message after Dr. Schottenstein, still
     unknowledgeable about the conspiracy and the arrangement
     engineered by Orthogen and Capla, suggested that they
     continue their practice of autologous remedies outside of the
     Regenokine® Program using methodologies that did not
     incorporate or rely upon the Regenokine® Know-How:
          We wanted to express our deep gratitude
          andappreciation to you for all you have done forus
          and Regenokine. What we have accomplishedas a
          team is remarkable and without you it
          wouldnever have happened. You’re an amazing
          personto work with and your tireless effort and
          care hasmade our jobs so much easier and more
          enjoyable.Your time, support, and cooperation we
          value a lot. Your exemplary work approach is
          unsurpassable.Much of the success of our team is
          because we allhad the same mentality – hard
          work leads to success. Thank you from the bottom
          of our hearts for being agreat colleague and never
          letting us settle for anythingless than best. We
          appreciate your offer but we decided to move
          forward on a different path. Wishing you only the
          best forever and lots of continued success in your
          practice. I would like to come on Friday evening
          when you are done with patients to pick up our
          belongings. Let me know if this works.
105. Thereafter, Dr. Schottenstein was informed by defendant
     Wehling, the founder of the Regenokine® Program treatments,
     that the termination reflected a change in Orthogen’s
     corporate policy pursuant to which Orthogen was limiting its
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     Regenokine® Program licensing to practitioners in Germany
     as it proceeded to negotiate the sale of the program rights.
106. Defendant Wehling further informed Dr. Schottenstein that
     as soon as the Regenokine® rights were sold, Dr.
     Schottenstein would be offered an opportunity to relicense his
     Regenokine® practice.
107. These statements made to Dr. Schottenstein by defendant
     Wehling were outright lies calculated to cover up Orthogen’s
     fraudulent, deceitful and tortious conduct.
108. The foregoing communications from defendants Capla and Y.
     Capla and defendant Wehling to Dr. Schottenstein were
     fraudulent and deceitful, and solely intended to convince Dr.
     Schottenstein that nothing untoward had occurred and to
     deter him from taking any formal action to challenge the
     failure to renew his License.
109. As an honest and trusting person, not disposed to suspicion of
     bad acts on the part of those with whom he deals, and relying
     upon the communications that he received from defendants,
     which subsequently proved to be intentionally misrepresented,
     fraudulent and deceitful, Dr. Schottenstein initially
     cooperated in suspending his Regenokine® practice.
110. In the following months, however, Dr. Schottenstein
     repeatedly sought to re-establish his License with Orthogen
     without success.
111. In the interim, however, Dr. Schottenstein learned that
     Orthogen had entered into a new License agreement with
     defendants Wasserman and Capla.
112. In or about mid-2022, Dr. Schottenstein assigned to legal
     counsel the task to review the non-renewal of his
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     Regenokine® License and defendant Orthogen’s issuance of a
     new License to defendants Wasserman and Capla.
113. Upon review of the License documentation, it became
     apparent that the July, 2014 Side Letter Agreement had
     created a perennial License no longer subject to renewal at 2-
     year intervals and terminable only for cause. On that basis, it
     was clear that the March 24, 2020 termination notice was
     void ab initio and Dr. Schottenstein’s License had never been
     terminated.
114. On or about July 28, 2022, and then again on August 3, 2022,
     Dr. Schottenstein communicated with defendant Orthogen
     requesting the reinstatement of his License and all benefits to
     which he was entitled to thereunder.
115. On August 3, 2022, defendant Peter Niederau, the current
     Managing Director of defendant Orthogen, joined the
     conspiracy and continued Orthogen’s tortious and deceitful
     conduct by issuing a letter to Dr. Schottenstein denying his
     requests and stating, “In light of the fact that there is no valid
     licensing agreement between you and ORTHOGEN, we
     request for you to refrain from any offer of the Regenokine®
     Program to your patients and to immediately take the website
     ‘www.regenokineperformance.com’ offline as well as seize (sic; cease) all
     public relations actions related to or in context of [the]
     Regenokine® Program. Furthermore, from our point of view
     ‘www.regenokineperformance.com’ website and its content is in
     violation of ORTHOGEN IP rights (Trademark, Patents,
     Know-How rights) and may violate at the same time US-laws.”
     The Niederau letter further threatened Dr. Schottenstein that
     Orthogen’s “attorneys will approach you in the upcoming days
     to substantiate our legal claims.”
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116. In immediate response to the Niederau letter, on August 3,
     2022, counsel for Dr. Schottenstein issued a letter to
     defendant Niederau baldly stating that his position is in error,
     and that he needed to put Orthogen’s attorneys in contact
     with legal counsel for Dr. Schottenstein.
117. Realizing that their scheme had now been uncovered, on
     August 8, 2022, Klaus Wehling, who purports to be a legal
     counsel for defendant Orthogen communicated by e-mail
     conceding that Article 2 of the July, 2014 Side Letter
     Agreement “provides that Dr. Schottenstein is in principle
     granted a contract term until 2030 (patent term) Thus, it
     appears that the contract cannot be terminated without
     cause.”
118. In a subsequent e-mail, Klaus Wehling stated, “the
     termination of the License Agreement in 2020 was invalid
     because ORTHOGEN’s 2014 License Agreement in
     conjunction with the 2014 Supplemental Agreement provided
     that the term of the agreement should run until the end of the
     patent or know-how term (cf. Art. 2 of the Supplemental
     Agreement)….There was therefore agreement among all
     parties that the current contract had not been terminated and
     is therefore still valid.”
119. These statements made by Klaus Wehling constitute an
     admission binding defendant Orthogenthat the Schottenstein
     License was never terminated even though the actions of
     Orthogen destroyed the economically advantageous
     relationship of plaintiffs with defendant Capla and their
     income therefrom, thereby precipitating Dr. Schottenstein’s
     loss, at that time, of two years of Regenokine® revenue
     approximating $12 million.
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120. Moreover, since the License’s perennial term would extend for
     at least eight (8) more years through the year 2030, Dr.
     Schottenstein continues to lose revenue, and is at risk of
     losing an additional $48 million even before an upward
     adjustment of that loss calculation for additional growth in
     the practice, inflation and other applicable factors.
121. Recognizing that Orthogen’s unjust position had literally cost
     Dr. Schottenstein the enormous losses he sustained, Klaus
     Wehling promptly proposed that Dr, Schottenstein would be
     identified as an expert in Regenokine® treatments,
     prominently featured on what he described as a universal
     landing page, and receive referrals of Regenokine® patients
     on an exclusive basis in the greater New York and Miami,
     Florida areas.
122. From the original License issuance in 2012 up to the time of
     the alleged termination in March, 2024, Dr. Schottenstein
     had received all of his Regenokine® patients from referrals by
     Orthogen.
123. Understanding that Dr. Schottenstein’s License extended
     through 2030 and possibly longer should Orthogen continue
     to develop innovations for Regenokine® protectable by patent,
     plaintiffs decided to attempt to mitigate their damages
     through the promise of exclusive referrals without waiving
     any of their other remedial alternatives.
124. Nevertheless, despite Dr. Schottenstein undergoing updated
     training on the know-how in mid-September, 2022 and
     passing audits of his laboratory facilities and materials in the
     same time frame, no patient referrals from defendant
     Orthogen were forthcoming.
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125. In response to communications from and on behalf of
     plaintiffs seeking patient referrals, Klaus Wehling countered
     with statements that there were irregularities in the
     reporting and royalty payment calculations under the 2014
     License prior to the March 24, 2020 letter announcing non-
     renewal.
126. No such complaint was ever provided to Dr. Schottenstein
     prior to the illegal termination notice of March 24, 2020 that
     proceeded solely on a failure to renew, which was not
     applicable, and not on any for cause basis. Moreover, these
     alleged irregularities in reporting and royalty payments are
     alleged to have started in 2017, but the illegal termination
     letter did not issue until three years later in 2020.
127. In that three year period, Orthogen never communicated to
     Dr. Schottenstein that such problems existed, not once, even
     though Dr. Schottenstein was Licensee No.1 and thereby
     responsible for the supervision of Capla and all activity
     conducted under the License.

  FACTS RELEVANT TO THE COVER UP, EQUITABLE RELIEF
           REQUESTED AND IMMINENT HARM

128. The fact that the Orthogen defendants actively
     misrepresented to Dr. Schottenstein the reason for the non-
     renewal, while going behind Dr. Schottenstein’s back to enter
     into a substitute License Agreement with Capla, a non-doctor
     and the known likely wrongdoer in the alleged misreporting
     and under-paymentsof royalties, and his brother-in-law,
     defendant Wasserman, who had virtually no experience in
     autologous treatment protocols or pain management,
     highlight the bad faith, deceit, fraud, conspiracy and tortious
     interference by Orthogen and its principal actors.
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129. In an e-mail dated November 7, 2022, Klaus Wehling at last
     partially addressed the issue of referrals as follows:
          As for referrals, ORTHOGEN can’t say much
          about them. In the past, ORTHOGEN has not
          received any patient inquiriesfrom patients, so
          ORTHOGEN          could    never    make      any
          recommendation here. As far as the future is
          concerned, ORTHOGENwould – in case of a
          corresponding request – name the LICENSEES
          that offer theRegenokine® Program in the
          requested area(i.e., e.g. USA). Thus, there would
          be neither a preference nor aDisadvantage of any
          physician from ORTHOGEN. In any case,Every
          patient will look at the homepages of the offering
          physicians on the Internet and decide who to go
          to.
130. Klaus Wehling’s statement in this regard was not only wholly
     inaccurate regarding Dr. Schottenstein’s referral experience
     from Orthogen during the period from 2012 to 2020, but was
     also an outright lie.
131. Dr. Schottenstein had been informed by a number of his prior
     Regenokine® patients that they had been referred by
     Orthogen personnel, including defendant Niederau, to
     defendant Wasserman.
132. Contrary to Klaus Wehling’s misrepresentation, Orthogen
     was referring former patients of Dr. Schottenstein to
     Wasserman for Regenokine® treatments while Dr.
     Schottenstein’s License had not been cancelled, the patients
     being referred to defendant Wasserman were Dr.
     Schottenstein’s patients, and defendant Orthogen was
     actively denying and covering up the referral practices in
     which it was presently engaged.
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133. On November 10, 2022, plaintiff Dr. Schottenstein, disgusted
     with the lies, deceit, fraudulent conduct, tortious interference
     and conspiracy engaged in by the Orthogen defendants,
     addressed an e-mail to Klaus Wehling, defendant
     Breidenbach and defendant Peter Wehling demanding in
     blunt language that they restore to plaintiffs the
     Regenokine® Program practice that defendant Orthogen had
     tortiously taken away.
134. In response, by letter dated November 28, 2022 from legal
     counsel, Orthogen, first contended that the March 24, 2020
     letter effectively terminated Dr. Schottenstein’s License, a
     position that wholly ignores the admissions binding Orthogen
     that the Schottenstein License was never terminated and had
     been fully reinstated, then asserted that the reinstated
     License was terminated once again, this time for cause.
135. In that letter dated November 28, 2022, defendant Orthogen
     through its legal counsel threatened to commence litigation
     against plaintiffs in the court of Dusseldorf, Germany.
     Plaintiffs seek injunctive relief from this court to stay
     defendant Orthogen and the other Orthogen defendants from
     commencing such litigation in Germany, considering that this
     case includes the FDA for declaratory relief of the underlying
     federal question common to all the claims asserted as well as
     the Orthogen defendants and the Capla defendants
     comprising all of the parties needed to resolve the claims set
     forth hereunder, and where this matter addresses claims
     based upon tortious interference, fraud and deceit, breach of
     fiduciary duty, breach of the duty of loyalty, conspiracy, an
     accounting, unjust enrichment and constructive trust to
     remedy the wrongful acts that occurred within the
     jurisdiction of this Court.
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136. The foregoing facts raise clear inferences that Orthogen
     issued the March 24, 2020 termination notice to Dr.
     Schottenstein not due to oversight or mistake, but with an
     intention evade federal regulation of Regenokine® andto
     tortiously interfere with the economically advantageous
     partner relationship with Capla that can no longer be ignored.
137. Orthogen was part of the conspiracy with Capla, Wasserman
     and the other Capla defendants to wrongly deprive plaintiffs
     of the benefits of the SchottensteinRegenokine® Program
     License, which conspiracy could not succeed in the absence of
     Orthogen’s tortious interference with the Schottenstein-Capla
     agreement by wrongfully and illegally issuing the March 24,
     2020 notice of termination on the basis of a failure to renew.
138. In this process, Orthogen and the other Orthogen defendants
     engaged in fraudulent and deceitful activities designed to
     both evade federal regulatory jurisdiction and hurt Dr.
     Schottenstein economically and by undermining his
     reputation.
139. The Orthogen defendants engaged in fraud and deceit to gain
     Dr. Schottenstein’s cooperation with their nefarious ends, and
     when given the chance to restore Dr. Schottenstein’s
     Regenokine® practice, they actively worked against him in
     favor of Capla and Wasserman then deliberately lied to
     conceal it.
140. The conduct of the Orthogen defendants as set forth in this
     Complaint is and continues to be scurrilous and outrageous
     meriting both compensatory and punitive damages in the
     millions of dollars.
141. In violation of his fiduciary duty and agreement with
     plaintiffs as partners, Capla and the other Capla defendants,
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     who also violated their duty of loyalty to plaintiffs, began to
     conspire with the Orthogen defendants to exclude plaintiffs
     from the right to practice under the Regenokine® Program
     License held by Dr. Schottenstein.
142. In doing so, they also acted with fraud and deceit, breached
     their fiduciary duty , breached the agreement between
     plaintiffs and Capla, and entered into a conspiracy by
     untruthfully informing plaintiffs they intended to undertake
     a real estate opportunity, and withheld from plaintiffs the
     material information that they had negotiated a substitute
     Regenokine® Program License to be issued to Wasserman
     and Capla, andunder which they intended to exclusively
     operate the Regenokine® Program practice in which Dr.
     Schottenstein held an equal, if not exclusive, interest.
143. In this manner, Capla and the Capla defendants deliberately
     shielded their activities from plaintiffs thereby causing Dr.
     Schottenstein to believe that all was in order within the
     agreement with Capla.
144. As a result, of their willful, deliberate and outrageous conduct,
     Capla, Wasserman and the other Capla defendants have been
     unjustly enriched to the detriment of plaintiffs in taking over
     and converting the operational, property and revenue
     interests and cash flow from theRegenokine® Program
     practice they presently operate, and to which plaintiffs claim
     at least a 50% interest together with claims for prior
     compensatory damages incurred, future compensatory
     damages to be incurred, and punitive damages arising from
     the scurrilous and outrageous conduct of these defendants.
145. Plaintiffs are entitled to establish a constructive trust over all
     assets, patient lists, treatment records and earnings of Capla,
     Wasserman and the other Capla defendants derived from
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     theRegenokine® Program practice, in which they have and
     continue to be wrongly engaged.
146. Defendant Orthogen has failed or refused to qualify to do
     business in New York. Additionally, to plaintiffs’ information
     and belief, neither defendant Orthogen nor the other
     Orthogen defendants maintain assets within the State of New
     York sufficient to satisfy the monetary claims asserted
     against them herein.
147. On information and belief, plaintiffs assert that defendant
     Orthogen maintains an automatic transfer agreement and
     arrangement with its parent company, Orthogen AG, under
     which funds received by defendant Orthogen are immediately
     transferred to Orthogen AG, thereby creating additional
     unwarranted obstacles to the satisfaction of any judgment
     awarded to plaintiffs against the Orthogen defendants in this
     action.
148. Furthermore, the Orthogen defendants have exhibited a
     pattern of fraudulent, deceitful and otherwise outrageous
     tortious conduct as delineated in this Complaint giving rise to
     a high probability of compensatory and punitive damages
     being found against them.
149. In light of the foregoing, plaintiffs are further entitled to
     establish a constructive trust over all funds derived from the
     aforesaid Capla-WassermanRegenokine® Program practice
     and/or any other such practice located within New York State
     that would otherwise be payable to defendant Orthogen as
     royalties or other fees in order to maintain these assets of the
     Orthogen defendants within the jurisdiction of this Court to
     satisfy the claims asserted against it herein.
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          DECLARATORY JUDGMENT CLAIMS
DECLARATORY JUDGMENT AGAINST DEFENDANT ORTHOGEN
 INTERNATIONAL GMBH AND DEFENDANT UNITED STATES
          FOOD AND DRUG ADMINISTRATION

150. Plaintiffs repeat the allegations set forth in the above
     paragraphs and incorporate them by reference in this Count
     as if set forth at length herein.
151. Defendant Orthogen International GmbH (“Orthogen”) is the
     international Licensor and distributor of Regenokine®, which
     it identifies as a treatment program designed to reduce
     inflammation and promote healing in various joints of the
     body, including the spine, knees and shoulders.
152. Orthogen takes great pains to differentiate Regenokine® from
     a drug that is regulated by Defendant United States Food and
     Drug Administration (“FDA”).
153. Orthogen licenses and distributes Regenokine proprietary
     methods and procedures, which it identifies as “Know How,”
     throughout the United States including, but not limited to the
     States of New York, Florida and California.
154. Orthogen has deliberately constructed a scheme built into its
     License Agreement to elude regulation and oversight by the
     FDA through a high level of Regenokine® concealment under
     an impenetrable cloud of internal proprietary regulation.
155. Orthogen Licensees can neither publicly discuss nor make
     any reference to Regenokine®in the absence of an advance
     submission to and approval by Orthogen’s trademark and
     patent counsel located in Washington, D.C. in order to
     prevent any substantive disclosure that could trigger the
     imposition of regulatory measures or spawn competitors
     utilizing the “Know How.”.
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156. Regenokine involves an autologous procedure whereunder
     blood is drawn from the patient, treated with various
     proprietary substances and processes, and then re-introduced
     by injection back into the patient at the specific sites under
     treatment.
157. On information and belief, Orthogen has never sought or
     made submission to the FDA to determine whether or not
     Regenokine®is subject to regulatory review, administrative
     control and/or investigation, testing and the process for
     approval by the FDA.
158. Regenokine® is wholly elective.
159. Regenokine® is neither used nor intended as a last chance
     remedy for terminal patients facing the inevitable that are
     desperate for any answer and who are therefore prepared to
     assume any risk.
160. To the contrary, Regenokine® is offered at a high price on a
     cash only basis, is not reimbursable by health insurance, and
     is thereby shielded from questioning and attention that could
     result in regulation.
161. Orthogen does not advertise Regenokine®, but markets it
     through a detailed and developed system fueled by word of
     mouth among elite professional athletes and other wealthy
     patrons that need or otherwise desire to accelerate healing
     from physical trauma or inflammation arising from other
     causes. As such, these candidates for treatment under
     Regenokine®anticipate that they will incur no significant risk
     thereunder.
162. In this environment, it is highly likely that the
     representations made by Orthogen and its Regenokine®,
     licensees are overstated and misleading.
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163. Defendant Orthogen, however, has licensed Regenokine in the
     United States to one or more individuals that are not licensed
     to practice medicine.
164. Defendant United States Food and Drug Administration
     (“FDA”), through its Center for Biologics Evaluation and
     Research (“CBER”), regulates biological products for human
     use under applicable federal laws, including the Public Health
     Service Act, 42 U.S.C. Section 201 et seq. and the Federal
     Food, Drug and Cosmetic Act, 21 U.S.C. Section 1 et seq. and
     regulations promulgated thereunder.
165. The FDA and CBER protect and advance public health by
     ensuring that biological products are safe, effective and
     appropriately used and stored.
166. As a vital part of the foregoing purposes, the FDA and CBER
     are responsible for regulatory oversight of the blood supply
     and the use, storage and treatment of blood within the United
     States.
167. In this regard FDA promulgates and enforces standards for
     blood collection, testing, and for the manufacturing and
     storage of blood products, including both transfusible and
     reintroductable components of whole blood, pharmaceuticals
     derived from blood cells or plasma, and related medical
     devices.
168. Federal regulations require among other standards that a
     person be free from and avoid any disease transmissible by
     blood transfusion or reintroduction, in so far as can be
     determined by health history and examination as well as the
     way in which blood is treated, stored and administered.
     Donors and recipients are required to be informed about
     potential risks and are further required to answer questions
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     about factors that may have a bearing on the safety of their
     blood and its subsequent administration.
169. FDA has recently required investigation, testing, and a
     rigorous approval process for other autologous procedures,
     namely two blood tests, Guardant360 CDx and Foundation
     One Liquid CDx, known as liquid biopsies, intended to guide
     treatment decisions for people with cancer. See, Exhibit 1,
     FDA Approves Blood Tests That Can Help Guide Cancer
     Treatment, US Gov. (December 26, 2022); accessible
     at:https://www.cancer.gov/news-events/cancer-currents-
     blog/2020/fda-guardant-360-foundation-one-cancer-liquid-biopsy.
170. The FDA regulatory process regarding these procedures
     resulted in the subject tests being approved for only certain
     cancers, and, in regard to the specified cancers only, these
     procedures can be used to guide the selection of a targeted
     cancer therapy.
171. The FDA also played a critical role in bringing to light the
     Theranos scandal engineered by its CEO Elizabeth Holmes
     and its Chief Operating Officer Sunny Balwani, when it ruled
     that nanotainers the company created to collect blood were an
     “unapproved” medical device.
172. Theranos had claimed it would revolutionize blood testing
     with technology that could analyze tiny amounts of blood to
     diagnose a wide range of medical conditions which resulted in
     Theranos entering into mega deals with Walgreens and
     Safeway for the sale and distribution of its Edison testing
     device. The device did not work causing Theranos to rely upon
     blood testing that could not be validated and to void as
     inaccurate testing results that questioned the capabilities of
     the device without disclosure resulting in a “massive fraud”
     subsequently prosecuted. See,Exhibit 2, Danielle Kirsh,
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     Former Theranos lab director takes the stand, says Elizabeth
     Holmes was ‘nervous’ amid blood test inaccuracy concerns,
     Mass Device (September 27, 2021), last accessed on December
     26, 2022: https://www.fda.gov/regulatory-information/search-fda-
     guidance-documents/changes-approved-application-biological-
     products-human-blood-and-blood-components-intended.
173. By characterizing Regenokine®, as a treatment program as
     opposed to a drug, Orthogen has deliberately avoided the FDA
     and CBER approval process.
174. Orthogen has chosen monetary profit over the safety and
     welfare of the public, and, most specifically, the safety and
     welfare of the patients that undergo Regenokine® in the
     belief that it is not a drug.
175. Plaintiffs are Regenokine®, Licensees expected by Orthogen
     to administer Regenokine®, to patients with inflammation
     and/or injury to principal joints and critical sites in their
     bodies. Plaintiff Douglas Schottenstein, MD, a Regenokine®,
     Licensee, is also a licensed physician in the States of New
     York and Florida and is Board Certified in both Neurology
     and Pain Management. Plaintiff NY Spine is the entity
     through which Dr. Schottenstein engages in his medical
     practice and is also licensed by Orthogen to administer
     Regenokine® to his patients.
176. Plaintiffs are concerned that Orthogen has eluded FDA and
     CBER oversight and regulatory investigation, testing and
     approval to the likely detriment and imminent irreparable
     harm of their patients.
177. Plaintiffs are aware that FDA and CBER regulate the
     collection of blood and blood components used for transfusion
     and re-intoduction or the manufacture of pharmaceuticals
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     derived from blood and blood components, such as clotting
     factors, storage containers, storage procedures and
     establishing standards for the products themselves.
178. FDA further regulates related products such as cell
     separation devices, blood collection containers and other
     screening tests that are used to prepare blood products to
     ensure safety.
179. Under Title 21 of the Code of Federal Regulations 640.120,
     the Director, Center for Biologics Evaluation and Research
     has direct administrative and regulatory oversight regarding
     blood, blood components and/or blood products. Both licensed
     and unlicensed blood establishments must submit to this
     administrative and regulatory oversight under 21 CFR 601.12.
     See, Exhibit 3, Changes to an Approved Application:
     Biological Products: Human Blood and Blood Components
     Intended for Transfusion or for Further Manufacture,
     December, 2014, Final Guidance.
180. In the absence of FDA and CBER regulation, investigation,
     testing and consideration for approval and the establishment
     of relevant conditions on which such approval might be based
     or the rejection of Regenokine®, as a drug product for the
     treatment of patients, Plaintiffs have significant and abiding
     concerns for the safety and welfare of their patients and
     members of the public, generally, all of which likely face
     imminent injury and irreparable harm.
181. As a result of Plaintiff’s expression of their concerns to
     Orthogen, it has taken retaliatory measures against Plaintiffs
     attempting to terminate Plaintiffs’ Regenokine®, License.
182. Plaintiffs maintain standing under this Count both as a result
     of their concerns for their patients and as medical
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     professionals sworn to do no harm for the general safety and
     welfare of the general public, and as targets of Orthogen’s
     attempt to terminate their Regenokine®, License by reason
     of their concerns.
183. Plaintiffs contend that Regenokine®, is not merely a
     treatment method, but is a drug or other regulated substance
     subject to regulation, investigation, testing and approval or
     rejection for use under FDA and CBER protocols that are
     mandated for the safety of the general public and the
     individual patients that seek Regenokine®, for their
     inflammation, pain and needs for healing from traumatic and
     other circumstances.
184. The foregoing applicability of the Public Health Service Act,
     42 U.S.C. Section 201 et seq. and the Federal Food, Drug and
     Cosmetic Act, 21 U.S.C. Section 1 et seq. and associated
     federal regulations thereunder to the facts and circumstances
     presented herein constitute a federal question over which this
     Federal District Court exercises original jurisdiction under
     28 USC Section 1331.
185. The avoidance of federal regulation by Defendant Orthogen
     International GmbH over Regenokine®, which it
     misrepresents to the public at large is a treatment plan as
     opposed to a regulated pharmaceutical, drug or modality,
     presents a potential threat to the health, safety and welfare of
     persons located within this District and throughout the
     United States.
186. The failure or refusal to date of FDA and CBER to assert
     administrative and regulatory control over Regenokine®,, to
     fail to undertake investigation and testing of Regenokine®,,
     and to impose its process under which approval to use
     Regenokine®, for treatmentof patients may be rejected,
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     approved or approved with conditions and exclusions, and to
     stay the use of Regenokine®, on patients pending the
     outcome of the administrative and regulatory process,
     constitutes non-compliance with the aforesaid statutory and
     regulatory requirements.
187. Orthogen’s history of licensing for Regenokine®, one or more
     individuals not licensed to practice medicine is unacceptable
     and illegal under New York law in that Regenokine®
     constitutes the practice of medicine. Consequently, any
     license for Regenokine® issued to such medically unlicensed
     individual(s) is void ab initio rendering such License nugatory
     and meaningless without force or effect.
188. Plaintiffs Douglas Schottenstein, MD and Schottenstein Pain
     and Neuro, PLLC d/b/a NY Spine hereby demand judgment
     against Defendants Orthogen International GmbH
     (“Orthogen”) and United States Food and Drug
     Administration (“FDA”) that this United States District Court
     and not the Courts of Germany has jurisdiction over the
     controversies stated herein.
189. WHEREFORE, Plaintiffs Douglas Schottenstein, MD and
     Schottenstein Pain and Neuro, PLLC d/b/a NY Spine hereby
     demand judgment against Defendants Orthogen
     International GmbH (“Orthogen”) and United States Food
     and Drug Administration (“FDA”) declaring that
       a. FDA is required under applicable law and regulations to
          determine whether or not Regenokine® is a drug,
          pharmaceutical or other modality subject to its
          administrative oversight and regulation through its
          Center for Biologics Evaluation and Research (“CBER”),
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        b. that in the interest and protection of public health and
           safety, the use of Regenokine® on patients in the United
           States must be stayed pending the decision of FDA as to
           whether or not investigation and testing of Regenokine®
           and the imposition of the process to thoroughly review
           Regenokine® to determine whether it is rejected as a
           drug, pharmaceutical or modality for the treatment of
           patients or approved with or without specific conditions
           or limitations, and
        c. that the use of Regenokine® on any patient constitutes
           the practice of medicine under New York law, which
           practice must be licensed, thereby rendering a
           Regenokine® License to an individual not licensed to
           practice medicine nugatory and meaningless, void ab
           initio, and without force or effect.

                      COUNT I
    (TORTIOUS INTERFERENCE AGAINST THE ORTHOGEN
                    DEFENDANTS)

190. Plaintiffs reincorporate the above paragraphs as if fully set
     forth herein.
191. On or about March 24, 2020, Orthogen in conspiracy with the
     Capla defendants and with specific intent to do so, wrongfully
     terminated the perennial License for the Regenokine®
     Program issued to plaintiff Dr. Schottenstein and defendant
     Capla, not on any “for cause” basis, but on the sole basis that
     the License was not being renewed.
192. At all times pertinent to this illegal action and the underlying
     conspiracy by and between the Orthogen defendants and the
     Capla defendants, Orthogen and the other Orthogen
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     defendants knew that that they were tortiously interfering
     with plaintiffs’ economically advantageous relationship with
     the Capla defendants that would result in losses to plaintiffs
     in the tens of millions of dollars.
193. At some point, the Orthogen defendants commenced to
     conspire with the Capla defendants to interfere with and deny
     plaintiffs the benefits of their economic relationship with the
     Capla defendants, and to act fraudulently and deceitfully to
     cover up said conspiracy and prevent plaintiffs from taking
     action to challenge and remediate same.
194. Within days after the discontinuance of the Regenokine®
     Program License Agreement with Schottenstein and Capla,
     Orthogen in furtherance of the aforesaid conspiracy and its
     tortious interference entered into a new Regenokine®
     Program License Agreement with defendants Wasserman and
     Capla to the exclusion of plaintiffs, who were unjustly
     regarded by the Orthogen defendants as persona non grata.
195. In conspiracy with the other Orthogen defendants and the
     Capla defendants, defendant P. Wehling actively and
     knowingly engaged in fraudulent and deceitful
     communications with Dr. Schottenstein with the specific
     intent to mislead Dr. Schottenstein, prevent him from
     learning of the foregoing conspiracy, and cause him to
     withhold action challenging the License non-renewal and
     thereby lose the opportunity to remediate the damages
     willfully being caused.
196. Defendant Breidenbach actively conspired with the other
     Orthogen defendants and the Capla defendants with the
     express intent to interfere with plaintiffs’ economically
     advantageous relationship with Capla, and through
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     fraudulent and deceitful actions and/or omissions to deprive
     plaintiffs of the revenues earned under that relationship.
197. Breidenbach joined in the conspiracy to disrupt the
     economically advantageous relationship that plaintiffs
     enjoyed with the Capla defendants, and thereafter
     participated in the fraudulent and deceitful conduct with the
     other Orthogen defendants to terminate that relationship and
     fulfill the objectives of the conspiracy by issuance of a new
     License to Wasserman and Capla and excluding plaintiffs
     without legal or factual justification.
198. Thereafter, the Orthogen defendants demanded that plaintiff
     Dr. Schottenstein transfer to defendants Capla and
     Wasserman the 3,500 patients that he had actively treated
     under the Regenokine® Program, thereby depriving Dr.
     Schottenstein of not only millions of dollars in revenue but
     also extraordinary damage to his professional reputation with
     these patients.
199. In furtherance of the foregoing conspiracy with the other
     Orthogen defendants and the Capla defendants, on August 3,
     2022, defendant Niederau signed and delivered a letter to Dr.
     Schottenstein refusing to provide any know-how or services
     under the Regenokine® Program, stating “that there is no
     valid licensing agreement between you [Dr. Schottenstein]
     and ORTHOGEN,” and demanding that Dr. Schottenstein
     refrain from any offer of the Regenokine® Program to his
     patients and to immediately take other specifically designated
     actions to disassociate from the Program.
200. In preparing and sending this letter to Dr. Schottenstein,
     defendant Niederau both advanced the conspiracy in which he
     had joined, acted knowingly with fraud and deceit, and fully
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     ratified the conspiracy between and among the Orthogen
     defendants and the Capla defendants and its goals.
201. The Orthogen defendants purposefully interfered with
     plaintiffs’ economic advantage in the Schottenstein-Capla
     agreement by wrongful means and/or acted for the sole
     purpose of grievously harming plaintiffs.
202. In wholly disrupting and defeating plaintiffs’ economic
     advantage as described above, the Orthogen defendants
     intentionally acted with fraud and deceit, engaged in multiple
     misrepresentations, and conspired with specific intent to
     accomplish their wrongful goals, thereby succeeding in
     accomplishing same.
203. The Orthogen defendants’ acts were both scurrilous and
     outrageous and intentionally caused plaintiffs to incur
     compensatory damages in the amount of $129,356,404 and
     exemplary damages in the amount of $108,000,000.
204. WHEREFORE, plaintiffs Douglas Schottenstein, MD and
     Schottenstein Pain and Neuro, PLLC doing business as NY
     Spine, demand judgment against defendants Orthogen
     International GmbH, Prof. Dr. Peter Wehling, Nina
     Breidenbach, and Peter Niederau in the amounts of
     $129,356,404 in compensatory damages and $108,000,000 in
     punitive damages together with attorneys’ fees, costs of suit,
     and such other and further relief as this Court may find
     equitable and just.
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                      COUNT II
 (FRAUD AND DECEIT WITH CIVIL CONSPIRACY AGAINST THE
  ORTHOGEN AND CAPLA DEFENDANTS AND CONVERSION,
 BREACH OF CONTRACT AGAINST CAPLA AND WASSERMAN)

205. Plaintiffs reincorporate the above paragraphs as if fully set
     forth herein.
206. On information and belief, there came a time when the Capla
     defendants conspired amongst themselves and with Orthogen
     and the other Orthogen defendantsto exclude plaintiffs from
     the right to practice under the Regenokine® Program License.
207. In doing so, both the Orthogen defendants and the Capla
     defendants acted with fraud and deceit deliberately shielding
     their activities from plaintiffs and making statements
     calculated to mislead plaintiffs thereby causing Dr.
     Schottenstein to believe that all was in order within the
     agreement with Capla.
208. In acting in this manner, the Orthogen defendants well knew
     that they were acting tortiously to interfere with the highly
     advantageous economic relationship by and between plaintiffs
     and Capla, and that their actions further constituted a breach
     of the fiduciary duties they owed to plaintiffs.
209. On information and belief, defendants Capla and Wasserman
     negotiated a new Regenokine® Program License for
     themselves with Orthogen to the exclusion of plaintiffs using
     fraudulent acts and statements to shield their acts as they
     proceeded to convert unto themselves the entire Regenokine®
     Program practice in which plaintiff Dr. Schottenstein owned
     at least 50%.
210. Capla and the other Capla defendants, employing fraud and
     deceit through their conspiracy with the Orthogen defendants,
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     also breached the agreement by and between Dr.
     Schottenstein and Capla as well as the implied covenant of
     good faith and fair dealing and their respective fiduciary duty
     and duties of loyalty to plaintiffs.
211. On or about March 24, 2020, defendant Orthogen acting
     through defendant Breidenbach, then Managing Director, and
     fully supported by defendant P. Wehling, issued a letter to Dr.
     Schottenstein and defendant Capla advising that the License
     under the Regenokine® Program was to be terminated by
     May 31st, 2020 on the basis of non-renewal in accordance with
     the June 1st, 2014 License Agreement. The letter did not refer
     to any for cause basis for the termination.
212. On information and belief this March 24, 2020 letter was
     issued to achieve the purpose of the conspiracy between the
     Orthogen defendants and the Capla defendants. Moreover,
     although not mentioned in this letter, on information and
     belief, the arrangement to issue a new Regenokine®
     ProgramLicense to defendant Capla and defendant
     Wasserman to the exclusion of plaintiffs had already been
     agreed upon.
213. The March 24, 2020 letter constituted a knowing, false,
     deceitful and illegal action by defendants Orthogen and
     Breidenbach, issued in breach of the controlling Side Letter
     Agreement dated July 9, 2014, and motivated by and with
     specific intent to further the conspiracy and achieve its goal of
     damaging plaintiffs.
214. Shortly after the receipt of the March 24, 2020 letter,
     defendants Capla and Y. Capla sent Dr. Schottenstein an
     intentionally fraudulent text message deceitfully and falsely
     confirming that they were pursuing a non-medical
     opportunity and deliberately withholding information that
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     they had negotiated a new Regenokine® Program License
     agreement with Orthogen to the exclusion of plaintiffs.
215. The purpose of this text message was to falsely assure
     plaintiffs that they had accepted the termination and to
     mislead plaintiff Dr. Schottenstein into believing that nothing
     had occurred to merit a challenge.
216. On information and belief, defendants Wasserman, J. Capla,
     T. Capla and Y. Capla conspired with Capla and the Orthogen
     defendants to exclude plaintiffs from the right to practice
     under the Regenokine® Program License.
217. In doing so, Defendants, individually and collectively, acted in
     violation of their fiduciary duty and/or duty of loyalty to
     plaintiffs, and with fraud and deceit deliberately shielding
     their activities from plaintiffs and making statements
     calculated to mislead plaintiffs thereby causing Dr.
     Schottenstein to believe that all was in order within the
     agreement with defendant Capla in order for these
     defendants to gain time for the conspiracy to succeed.
218. In conspiracy with the other Orthogen defendants and the
     Capla defendants, defendant P. Wehling actively and
     knowingly engaged in fraudulent and deceitful
     communications with Dr. Schottenstein with the specific
     intent to mislead Dr. Schottenstein, prevent him from
     learning of the foregoing conspiracy, and cause him to
     withhold action to challenge the License non-renewal and
     thereby sacrifice the opportunity to remediate the damages
     willfully being caused.
219. In this regard, P. Wehling deliberately, fraudulently and
     deceitfully misinformed Dr. Schottenstein that the non-
     renewal of the License was merely the result of a change in
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     Orthogen’s internal policy to limit practice under the
     Regenokine® Program to German practitioners while
     Orthogen was engaging in discussions to sell all or a portion
     of the Regenokine® Program rights to third parties. P.
     Wehling also fraudulently and deceitfully misinformed Dr.
     Schottenstein that the License would be reissued to Capla
     and him promptly after the current negotiations were
     concluded.
220. On information and belief, defendant Breidenbach actively
     conspired with the other Orthogen defendants and the Capla
     defendants with the express intent to interfere with plaintiffs’
     economically advantageous relationship with Capla, and
     through fraudulent and deceitful actions and/or omissions to
     deprive plaintiffs of the revenues earned under that
     relationship.
221. In furtherance of the foregoing conspiracy, Breidenbach
     signed and sent to Dr. Schottenstein and Capla the March 24,
     2020 non-renewal notice thereby discontinuing the
     Regenokine® Program License Agreement issued to them.
222. Defendant Breidenbach joined in the conspiracy to disrupt the
     economically advantageous relationship that plaintiffs
     enjoyed with the Capla defendants, and thereafter
     participated in the fraudulent and deceitful conduct with the
     other Orthogen defendants to terminate that relationship and
     fulfill the objectives of the conspiracy by issuance of a new
     License to Wasserman and Capla.
223. In furtherance of the foregoing conspiracy with the other
     Orthogen defendants and the Capla defendants, on August 3,
     2022, defendant Niederau signed and delivered a letter to Dr.
     Schottenstein refusing to provide any know-how or services
     under the Regenokine® Program, stating “that there is no
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     valid licensing agreement between you [Dr. Schottenstein]
     and ORTHOGEN,” and demanding that Dr. Schottenstein
     refrain from any offer of the Regenokine® Program to his
     patients and to immediately take other specifically designated
     actions to disassociate from the Program.
224. In preparing and sending this letter to Dr. Schottenstein,
     defendant Niederau both advanced the conspiracy in which he
     had joined, acted knowingly with fraud and deceit, and fully
     ratified the conspiracy between and among the Orthogen
     defendants and the Capla defendants.
225. Plaintiffs relied upon the fraudulent and deceitful acts and
     omissions of defendants and were deceived.
226. The foregoing actions have injured plaintiffs economically and
     in regard to their reputation concerning the Regenokine®
     Program patients they treated and within the medical
     community.
227. The conduct of defendants in this regard was scurrilous and
     outrageous meriting exemplary damages.
228. WHEREFORE, plaintiffs Douglas Schottenstein, MD and
     Schottenstein Pain and Neuro, PLLC doing business as NY
     Spine, demand judgment against defendants Orthogen
     International GmbH, Prof. Dr. Peter Wehling, Nina
     Breidenbach, Peter Niederau and against defendants Edward
     L. Capla, Judith J. Capla, MD, Tomas Capla, DDS, Yolanda
     Capla and Bradley Wasserman, MD, jointly and severally, in
     the amounts of $129,356,404 in compensatory damages and
     $108,000,000 in punitive damages together with attorneys’
     fees, costs of suit, and such other and further relief as this
     Court may find equitable and just.
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                        COUNT III
        (INJUNCTIVE RELIEF AGAINST THE ORTHOGEN
                      DEFENDANTS)

229. Plaintiffs reincorporate the above paragraphs as if fully set
     forth herein.
230. By letter dated November 28, 2022 from legal counsel,
     Orthogen, first contended that the March 24, 2020 letter
     effectively terminated Dr. Schottenstein’s License, a position
     that wholly ignores the admissions binding Orthogen that the
     Schottenstein License was never terminated and had been
     fully reinstated, then asserted that the reinstated License
     was terminated once again, this time for cause.
231. In that letter, defendant Orthogen through its legal counsel
     threatened to commence litigation against plaintiffs in the
     court of Dusseldorf, Germany.
232. Plaintiffs seek injunctive relief from this Court to stay
     defendant Orthogen and the other Orthogen defendants from
     commencing such litigation in Germany, considering that this
     case includes the United States Food and Drug
     Administration as a defendant in order to address and resolve
     the federal questions that underlie all claims asserted herein
     as well as the Orthogen defendants and the Capla defendants
     comprising all of the parties needed to resolve the claims set
     forth hereunder, and where this matter also addresses claims
     based upon tortious interference, fraud and deceit, breach of
     fiduciary duty, breach of the duty of loyalty, conspiracy,
     conversion,an accounting, unjust enrichment and constructive
     trust to remedy the wrongful acts that occurred within the
     jurisdiction of this Court.
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233. The facts set forth in this Complaint demonstrate a likelihood
     of success for plaintiffs on the merits in that Orthogen issued
     the March 24, 2020 termination notice to Dr. Schottenstein
     not due to oversight or mistake, but with an intention to both
     evade federal regulatory jurisdiction as well as to tortiously
     interfere with the economically advantageous relationship
     with Capla that can no longer be ignored.
234. The Orthogen defendants and the Capla defendants conspired
     with fraud and deceit and with specific intent to damage
     plaintiffs economically and in their reputation.
235. The participation of the Orthogen defendants in that
     conspiracy enabled the tortious interference with the
     Schottenstein-Capla agreement and further enabled
     defendants Capla and Wasserman to convert the
     Regenokine® Program practice in which Dr. Schottenstein
     owned at least 50%.
236. Commencing an action in Germany will prevent plaintiffs
     from asserting the claims set forth in this Complaint against
     all parties regarding the federal questions asserted as well as
     the intricately entwined pendant claims and will further
     disrupt these proceedings thereby causing plaintiffs
     irreparable harm.
237. The Orthogen defendants will have a full and fair opportunity
     to litigate all of the issues posed in this Complaint and the
     further opportunity to assert a counterclaim if and as desired
     by them.
238. The proceeding in Germany will not afford plaintiffs the
     opportunity to assert their claims against Capla, Wasserman
     and the other Capla defendants nor to obtain an accounting or
     establish a constructive trust over the funds generated by the
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     Regenokine® Program Practice that Capla and Wasserman
     have converted. Under this analysis, the equities balance in
     favor of the plaintiffs to preserve the status quo while these
     issues are litigated.
239. WHEREFORE, plaintiffs Douglas Schottenstein, MD and
     Schottenstein Pain and Neuro, PLLC doing business as NY
     Spine, demand the issuance of a preliminary injunction
     barring defendants Orthogen International GmbH, Prof. Dr.
     Peter Wehling, Nina Breidenbach, and Peter Niederau or any
     one or more of them from initiating litigation in Germany
     against plaintiffs thereby requiring them to litigate all issues
     in this Court together with such other relief as this Court
     may deem necessary or just.



                     COUNT IV
     (AGAINST DEFENDANT ORTHOGEN AND DEFENDANTS
  CAPLA AND WASSERMAN FOR UNJUST ENRICHMENT, AN
 ACCOUNTING AND IMPOSITION OF CONSTRUCTIVE TRUSTS)

240. Plaintiffs repeat the above allegations as if fully set forth
     herein.
241. Defendants Orthogen and Capla have each entered into
     separate confidential and/or fiduciary relationships with
     plaintiff Dr. Schottenstein.
242. Orthogen entered into this relationship with Dr.
     Schottenstein in or about 2012 in the form of a Regenokine®
     Program License Agreement with a 2-year renewable term,
     which License Agreement was renewed in or about June,
     2014 and thereafter modified with a perennial term that
     required no renewals and could only be terminated for cause.
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243. Commencing in or about 2012, Capla entered into an
     agreement with Dr. Schottenstein constituting a confidential
     and fiduciary relationship by reason of Capla’s acceptance of a
     Regenokine® Program License designating him as Licensee
     No. 2 that was subordinate to and under the supervision of
     Dr. Schottenstein as Licensee No. 1, but was accompanied by
     their agreement regarding allocation of revenues to plaintiffs
     and payment of compensation to Capla and the other Capla
     defendants for the services they rendered.
244. Under the terms of the Regenokine® Program License
     Agreement, defendant Orthogen promised Dr. Schottenstein
     that he would enjoy the benefits of said Agreement and the
     revenue generated thereunder in accordance with the terms
     of that Agreement.
245. In accordance with their agreement concerning the conduct of
     the Regenokine® Program practice, Capla and Dr.
     Schottenstein entered into mutual promises with the other to
     conduct their activities thereunder in good faith and with
     recognition of their fiduciary duties each to the other.
246. Dr. Schottenstein expended money, labor and time both under
     the Regenokine® Program License Agreement with Orthogen,
     and in regard to the agreement with Capla. These
     expenditures benefitted both Orthogen and Capla within their
     respective agreements with Dr. Schottenstein, and these
     expenditures constituted a transfer of value to each of the
     aforesaid defendants in reliance by plaintiffs thereon.
247. On or about March 24, 2020, defendant Orthogen in
     conspiracy with the Capla defendants and with specific intent
     to do so, wrongfully terminated the perennial License for
     theRegenokine® Program issued to plaintiff Dr.
     Schottenstein and defendant Capla, not on any “for cause”
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     basis, but on the sole basis that the License was not being
     renewed.
248. At all times pertinent to this illegal action and the underlying
     conspiracy by and between the Orthogen defendants and the
     Capla defendants, Orthogen and the other Orthogen
     defendants knew that that they were tortiously interfering
     with plaintiffs’ economically advantageous relationship with
     the Capla defendants that would result in losses to plaintiffs
     in the tens of millions of dollars.
249. At some point, the Orthogen defendants commenced to
     conspire with the Capla defendants to interfere with and deny
     plaintiffs the benefits of their economic relationship with the
     Capla defendants, and to act fraudulently and deceitfully to
     cover up said conspiracy and prevent plaintiffs from taking
     action to challenge and remediate same.
250. Within days after the discontinuance of theRegenokine®
     Program License Agreement with Schottenstein and Capla,
     Orthogen in furtherance of the aforesaid conspiracy and its
     tortious interference entered into a new Regenokine®
     Program License Agreement with defendants Wasserman and
     Capla to the exclusion of plaintiffs, who were unjustly
     regarded by the Orthogen defendants as persona non grata.
251. In taking the aforesaid actions, defendant Orthogen acted
     with fraud and deceit, and defendants Capla and Wasserman
     and the other Capla defendants breached their respective
     fiduciary duties and duties of loyalty by taking over and
     converting plaintiffs’ interest in the Regenokine® Program
     practice.
252. The aforesaid respective acts of Orthogen and the other
     Orthogen defendants as well as Capla, Wasserman and the
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     other Capla defendants have caused plaintiffs to incur tens of
     millions in damages, which continue to grow each day, and
     have unjustly enriched Orthogen as well as Capla and
     Wasserman in that they have obtained and possessed value
     and revenues that in good conscience and equity rightfully
     belong to plaintiffs.
253. Moreover, despite defendant Orthogen maintaining a
     significant business presence in New York, on information
     and belief, it has failed and or refused to qualify to do
     business in New York or to maintain sufficient assets in this
     jurisdiction to satisfy the judgment arising from plaintiffs’
     claims hereunder. Furthermore, on information and belief,
     defendant Orthogen has entered into an arrangement with its
     parent, Orthogen AG, whereunder all funds received by
     defendant Orthogen are automatically swept into the account
     of Orthogen AG, thereby rendering those funds less available
     to satisfy the obligations of defendant Orthogen, including a
     judgment rendered against it hereunder.
254. The Orthogen defendants have exhibited a pattern of
     fraudulent, deceitful and otherwise outrageous tortious
     conduct as delineated in this Complaint giving rise to a high
     probability of compensatory and punitive damages being
     found against them.
255. In light of the foregoing, plaintiffs are further entitled to
     establish a constructive trust over all funds derived from the
     aforesaid Capla-Wasserman Regenokine® Program practice
     and/or any other such practice located within New York State
     that would otherwise be payable to defendant Orthogen as
     royalties or other fees in order to maintain these assets of the
     Orthogen defendants within the jurisdiction of this court and
     to satisfy the claims asserted against it herein.
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256. Plaintiffs are further entitled to an accounting and to impose
     and establish a constructive trust over all assets, patient lists,
     treatment records and earnings of Capla, Wasserman and the
     other Capla defendants derived from the Regenokine®
     Program practice, in which they have and continue to be
     wrongly engaged and thereby unjustly enriched.

                        PRAYER FOR RELIEF
WHEREFORE, Plaintiffs pray for judgment which will:
DECLARE JURISDICTION over Orthogen, the administration and
  distribution of Regenokine® and provide US FDA oversight
  and/or approval in this United States District Court and not a
  Court of Foreign Jurisdiction;
ISSUE AN ACCOUNTING of all revenues, patients, procedures,
records and royalty payments to Orthogen from and after May 31,
2020 to and through the current date and thereafter until further
order of this Court, for
A CONSTRUCTIVE TRUST of same, and against defendant Orthogen
for the establishment and imposition of a constructive trust for all
funds derived from the aforesaid Capla-Wasserman Regenokine®
Program practice and/or any other such practice located within
New York State that would otherwise be payable to defendant
Orthogen as royalties or other fees commencing on and after May
31, 2020 and continuing thereafter until further order of this
Court; or
APPOINTMENT OF A RECEIVER Pertaining to the administration of
Regenokine and profits derived from the same, while
PROHIBITING The administration of Regenokine® by non-licensed
  medical professionals pending US FDA approval;
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PROHIBITING Defendants, individually and collectively, from
  unlawfully usurping business interests, interfering with
  patient-client privilege, usurping Plaintiffs' patients,
  proprietary interests, money and other resources from Plaintiff
ENJOINING Orthogen from licensure, administration and
  distribution of Regenokine® without US FDA oversight and/or
  approval;
AWARD, on Counts I, II and/or IV, (TORTIOUS INTERFERENCE
AGAINST THE ORTHOGEN DEFENDANTS), judgment against
defendants Orthogen International GmbH, Prof. Dr. Peter Wehling,
Nina Breidenbach, and Peter Niederau in the amounts of
$129,356,404 in compensatory damages and $108,000,000 in
punitive damages together with attorneys’ fees, costs of suit, and
such other and further relief as this Court may find equitable and
just.
AWARD all costs, including costs and attorneys’ fees, and the costs
of prosecuting this action to the fullest extent allowed by law.
All together with such other and further and additional relief as
this Court may deem just and proper.



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DATED AT   Huntington, N.Y.
           December 27, 2022

                                                   /S/

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                         INDEPENDENT VERIFICATION


State of New York
New York County
                    }   ss:



   Douglas Schottenstein, MD, a licensed medical doctor duly
affirming under the penalty of perjury deposes and says that I am
the Plaintiff(s) filing this Verified Complaint; that I have read the
foregoing Verified Complaint and know the contents thereof; that
the same is true to deponent’s own knowledge, except as to the
matters therein stated to be alleged on information and belief.

Duly affirmed under penalty of
perjury on December 27, 2022
                                                            /S/


                                               Douglas Schottenstein
